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 7

 8
                              UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT-EASTERN DIVISION
10

11 JUANA M. DURAN, an individual,                        Case Number:
                                                         COMPLAINT FOR:
12                                          Plaintiff,
                                                            1. VIOLATION OF TITLE I OF
13        vs.                                                  THE AMERICANS WITH
                                                               DISABILITIES ACT (“ADA”)
14                                                             42 U.S.C. 12101 ET SEQ.
   LOMA LINDA UNIVERSITY SHARED
15 SERVICES, a California Nonprofit Religious               2. FAILURE TO ACCOMMODATE
   Corporation, and DOES 1-50 inclusive,                       IN VIOLATION OF THE
16                                                             AMERICANS WITH
                                       Defendants              DISABILITIES ACT (“ADA”) 42
17                                                             U.S.C. 12101 ET SEQ.

18                                                                  [JURY DEMAND]

19

20
                                     GENERAL ALLEGATIONS
21
                                        The Parties and Venue.
22
         1.     Plaintiff, JUANA M. DURAN (“DURAN” or “Plaintiff”) is and, at all relevant times
23
     was, a citizen and resident of the State of California, County of San Bernardino.
24
         2.     Plaintiff worked for Defendant LOMA LINDA UNIVERSITY SHARED SERVICES
25
     (“LOMA LINDA” or “Defendant”). Plaintiff is informed and believes and thereon alleges that
26
     LOMA LINDA is and was a California Nonprofit Religious Corporation and is incorporated in
27

28
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 1   California, with its company headquarters located at 11175 Campus Street, Suite 11006, Loma

 2   Linda, CA 92354. Defendant’s illegal actions have violated federal statutes. As such, Plaintiff

 3   DURAN brings this action in the United States District Court of the Central District Eastern

 4   Division.

 5                             Subject Matter and Personal Jurisdiction.

 6       3.   This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 in light of

 7   federal questions arising under the following federal statute sued upon: (1) Title I of the

 8   Americans with Disabilities Act (sometimes "ADA"), 42 U.S.C. §§ 12101 et seq. and (2)

 9   Failure to accommodate in violation of the Americans with Disabilities Act (sometimes

10   “ADA”), 42 U.S.C. §§ 12101 et seq.

11       4.   This court has personal jurisdiction over Defendant LOMA LINDA whose principal

12   place of business is 11175 Campus Street, Suite 11006 in the City of Loma Linda, County of

13   San Bernardino, and State of California. This court and the California courts would have

14   personal jurisdiction over Defendant LOMA LINDA because it is an entity that has sufficient
     minimum contacts in California by having its principal place of business in California and
15
     purposely availed itself of the benefits and protections of California so as to render the exercise
16
     of jurisdiction over Defendant LOMA LINDA by the California courts consistent with
17
     traditional notions of fair play and substantial justice.
18
                                              Doe Allegations.
19
         5.   Plaintiff does not presently know the true names and capacities of defendants named as
20
     Doe 1 through Doe 50, inclusive. Plaintiff will amend this complaint, setting forth the true
21
     names and capacities of these fictitious defendants, when they are ascertained. Plaintiff is
22
     informed and believes and, on that basis, alleges that each of the fictitious defendants has
23
     participated in the acts alleged in this complaint to have been done by the named defendants.
24
                                             Vicarious Liability.
25
         6.   Unless otherwise indicated, each defendant herein sued, including each of those sued
26
     as a DOE Defendant, is the agent, co-conspirator, joint venturer, integrated enterprise, partner,
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                                              COMPLAINT - 2
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 1   and/or employee of every other defendant and, as alleged, has been acting within the course and

 2   scope of said agency, conspiracy, joint venture, integrated enterprise, partnership, and/or

 3   employment, with the knowledge and/or consent of co-defendants, and each of them. Plaintiff

 4   is informed and believes and thereon alleges that each defendant has authorized and/or ratified

 5   the wrongful activities of each of the remaining defendants.

 6      7.    The corporate defendant’s conduct, and that conduct by each of the Doe Defendants,

 7   was undertaken by its officers, managing agents and other persons responsible for supervision

 8   of employees and for the drafting and implementation of policies and other managerial

 9   decisions. The conduct of the officers, managing agents, and other individuals was on behalf of

10   the corporate defendant. Further, the corporate defendant had advance knowledge of such

11   conduct of said individuals whose actions and conduct were ratified, authorized, approved

12   and/or known by the corporate defendant’s officers and managing agents.

13

14                 COMMON ALLEGATIONS TO ALL CAUSES OF ACTION

15      8.    In or around 2007, Plaintiff DURAN began working for LOMA LINDA located in

16   the City of Loma Linda, California. At the time of her termination, DURAN was a Claims

17   Assistant II. Plaintiff’s essential job function was to set up new claims, various clerical work,

18   such as, start a workers’ compensation file to closing a file, make qualified medical
19   examinations (“QME”) doctor appointments, send information to the Board for rating QME

20   reports, retrieve records, file documents and pay bills.

21      9.    On or about July 2, 2015, Plaintiff, who was pregnant, verbally informed her direct

22   supervisor, Charlotte Lawson (“Lawson”), that she needed to leave early to attend a meeting

23   at her son’s school. Ms. Lawson verbally approved her request to leave early and Plaintiff

24   attended her son’s orientation meeting. After returning to work, Plaintiff’s manager, Kimberly
     Kinney (“Kinney”) confronted Plaintiff about leaving work early to which Plaintiff explained
25
     that she received approval from Ms. Lawson and provided Ms. Kinney with a note from her
26
27

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                                            COMPLAINT - 3
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 1   son’s school confirming her attendance at the orientation meeting. Despite having approval to

 2   leave early, Ms. Kinney scheduled a write up meeting for July 25. 2015.

 3      10. On or about July 25, 2015, the day of the write up meeting, Plaintiff began to bleed

 4   and immediately contacted her doctor who indicated that Plaintiff could be seen if she arrived
     at the doctor’s office before 11:00 A.M. Plaintiff sent an email to both Ms. Kinney and Ms.
 5
     Lawson informing them she had a medical emergency and needed to go to her doctor’s office
 6
     before 11:00 A.M. Ms. Kinney accused Plaintiff of making up an excuse to avoid the
 7
     scheduled write up meeting and demanded that Plaintiff attend the meeting. Despite repeated
 8
     requests for permission to seek medical attention, Ms. Kinney conducted the meeting telling
 9
     Plaintiff that if she left, she would be subject to further write up. Plaintiff was written up for
10
     the events of July 2, 2015 and received a one-week suspension. Plaintiff ultimately had a
11
     miscarriage.
12
        11. In or around 2016, Plaintiff filed a worker’s compensation claim for an injury
13
     suffered at work. A deposition in that matter was scheduled to take place in the office where
14   Plaintiff worked. It was the practice of the employer that employees remain on the clock
15   during such depositions. In keeping with the common practice, Plaintiff did not clock out for
16   the deposition. However, Ms. Kinney wrote Plaintiff up for not clocking out and issued
17   Plaintiff a three-day suspension without pay.
18      12. On or around March 7, 2018, Plaintiff was placed on pregnancy leave by her doctor
19   for the period of March 8, 2018 to June 10, 2018. On or around May 30, 2018, Plaintiff sent

20   an email to Ms. Lawson that her post-partum appointment to be released back to work was

21   scheduled for June 6, 2018 but that she wanted to take her six week baby bonding leave time

22   after June 6, 2018 and would not return back to work until mid-July.

23      13. On or around June 6, 2018, Plaintiff sent an email to Jill Whitlock (“Whitlock”),
     Employee Relations – Leave Representative, with a Return to Work Order from her doctor.
24
     On or around June 8, 2018. Plaintiff received the “Notice of Leave of Absence Approval for
25
     Care for Newborn” from Employer approving leave for the period of June 4, 2018 to July 15,
26
     2018.
27

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                                             COMPLAINT - 4
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 1      14. On or around July 10, 2018, Plaintiff emailed Ms. Lawson to advise that she would

 2   not be at work on July 16, 2018 because she was scheduled for surgery on July 12, 2018.

 3   Plaintiff further advised that her doctor expected her to be out until August 23, 2018.

 4      15. On or around July 13, 2018, Plaintiff sent an email to Ms. Whitlock with an off-work
     order from her doctor indicating an anticipated return to work date of August 23. 2018.
 5
        16. On or around July 16, 2018, Plaintiff received a “Job Accommodation SDI
 6
     Notification Letter” from Employer which acknowledged receipt of Plaintiff’s off-work order
 7
     and advising that Plaintiff’s job may not be available upon her return.
 8
        17. On or around August 20, 2018, Plaintiff sent an email to Ms. Whitlock and Donna
 9
     Phillips (“Phillips”), Senior Leaves and Accommodation Specialist, informing them that she
10
     would return to work on August 24, 2018 and inquired as to whether her position was
11
     available. Ms. Phillips responded by requesting a doctor’s note releasing Plaintiff to return to
12
     work with or without restrictions.
13
        18. On or around August 21, 2018. Plaintiff provided Ms. Phillips with her return to
14   work order and Ms. Phillips responded by stating that Plaintiff had lost her position and had
15   thirty days to find another available position with Employer that Plaintiff was qualified for. If
16   Plaintiff did not secure another position within thirty days, Plaintiff’s employment would be
17   terminated. During those thirty days, Plaintiff applied for eight positions and was not accepted
18   for any.
19      19. At no time did Ms. Phillips or anyone else from LOMA LINDA meet with Plaintiff

20   to help Plaintiff identify open positions that she was qualified for.

21      20. On or around October 2, 2018, Plaintiff’s employment with Loma Linda University

22   Shared Services was terminated.

23      21. As a result of Defendants’ actions, Plaintiff has suffered, and continues to suffer,
     damages in the form of lost wages and employment benefits. Plaintiff struggles to meet
24
     everyday expenses. As a result of the financial losses and the loss of her employment,
25
     Plaintiff has suffered and continues to suffer emotional stress, including but not limited to,
26
     stress-related to finance, depression, loss of sleep, and anxiety.
27

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                                             COMPLAINT - 5
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 1       22. Plaintiff has exhausted her state and federal administrative remedies by timely filing an

 2   administrative complaint within 300 days of the wrongful act with the Department of Fair

 3   Employment & Housing (“DFEH”) and receiving a Notice of Case Closure and Right to Sue

 4   letter from the DFEH, copies which are attached hereto as Exhibit 1 and filing this complaint
     within 90 days of receipt thereof.
 5
                                      FIRST CAUSE OF ACTION
 6
     (Violation of Title I of the Americans with Disabilities Act (“ADA”) 42 U.S.C. 12101 et seq.
 7
           – Disability Discrimination - against defendant LOMA LINDA and Does 1-50)
 8
         23. Plaintiff hereby incorporate each of the allegations set forth in each of the paragraphs
 9
     above and below by reference as though set forth in full in this cause of action.
10
         24. Under the ADA, the term “disability" means that an individual has: (1) a physical or
11
     mental impairment that substantially limits one or more "major life activities"; (2) a record of
12
     such impairment; or (3) being regarded as having such an impairment. 42 U.S.C. § 12102(1).
13
     Further, the ADA defines "major life activities" as including, but not limited to: "caring for
14
     oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking, standing, lifting,
15
     bending, speaking, breathing, learning, reading, concentrating, thinking, communicating, and
16
     working." 42 U.S.C. § 12102(2)(A). As set forth more fully above, Plaintiff, at all relevant
17   times, was “disabled” and/or regarded as disabled” under the ADA as her surgery caused a
18   “substantial limitation” on a “major life activity;” namely caring for herself, standing, bending
19   and lifting anything heavy.
20       25. The ADA defines a “qualified individual" as “an individual who, with or without
21   reasonable accommodation, can perform the essential functions of the employment position that
22   such individual holds or desires." 42 U.S.C. § 12111(8). The United States Equal Employment

23   Opportunity Commission ("EEOC") regulations provide that the essential functions are the

24   “fundamental job duties" of a position, rather than the position’s “marginal functions," and that

25   courts should examine several factors to determine essential functions. [1] 29 C.F.R. §

26   1630.2(n)(1)-(3).

27

28
                                             COMPLAINT - 6
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 1      26. As set forth more fully above, Plaintiff was qualified to do her job and many other jobs

 2   (including the essential functions of those jobs) at Defendant LOMA LINDA with or without a

 3   reasonable accommodation. When Plaintiff DURAN asked Defendant LOMA LINDA to return

 4   to work, Plaintiff DURAN could have returned to her original position as a Claims Assistant II
     or a similar position.
 5
        27. As set forth more fully above, shortly after Plaintiff DURAN’s attempt to return to
 6
     work and continuing on for the next 30 days, Defendant LOMA LINDA refused to provide a
 7
     timely, good faith, interactive process, and discriminated against her, refused to find and give
 8
     her open positions and refused to rehire her all “on the basis of” (under the “but for” test)
 9
     Plaintiff DURAN’s disability, and/or perceived disability. Plaintiff DURAN’s allegation that
10
     Defendant LOMA LINDA’s illegal actions and omissions were on the basis of (“but for”) his
11
     disability/perceived disability is not only based upon the close temporal proximity, but also the
12
     numerous factual circumstances and context of Defendant LOMA LINDA’s illegal acts and
13
     omissions.
14      28. As a result of the unlawful conduct of the Defendants, and each of them, Plaintiff has
15   suffered, and continues to suffer, general and special damages, including emotional distress.
16      29. As a direct result of the wrongful conduct by Defendants, and each of them, as alleged
17   herein, Plaintiff has incurred and continues to incur attorney’s fees and costs to maintain this
18   action and is, therefore, entitled to recover reasonable attorney’s fees and costs of suit, pursuant
19   to 42 U.S.C.S. §§12117, 2000e-5(k), 12205.

20

21                                       SECOND CAUSE OF ACTION

22   (Failure to Accommodate in Violation of the Americans with Disabilities Act (“ADA”) 42

23                U.S.C. 12101 et seq. against defendant LOMA LINDA and Does 1-50)

24      30. Plaintiff hereby incorporate each of the allegations set forth in each of the paragraphs

25   above and below by reference as though set forth in full in this cause of action.

26      31. Plaintiff is informed and believes, and thereon alleges, that Defendants LOMA

27   LINDA and DOES 1-50, and each of them, at the time of the wrongful conduct against

28
                                             COMPLAINT - 7
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 1   Plaintiff described herein, knew that it was an “unlawful employment practice” under Title I

 2   of the Americans with Disabilities Act of 1990, against the law and a disregard of Plaintiff’s

 3   rights “for an employer or other entity covered by this part to fail to provide reasonable

 4   accommodation for qualified individuals who are employees…unless to do so would cause

 5   undue hardship.”

 6      32. Plaintiff is informed and believes, and thereon alleges, that Defendants LOMA

 7   LINDA and DOES 1-50, and each of them, at the time of the wrongful conduct against

 8   Plaintiff described herein, knew or should have known, that under the Americans with

 9   Disabilities Act, 29 C.F.R. section 1630.10, and relevant case law, employers, who are aware

10   of an employee’s disability or at least perceive a disability, have an “affirmative duty” to

11   make “reasonable accommodations” for that employee which include, but are not limited to

12   making existing facilities accessible, job restructuring, offering part-time or modified work

13   schedules, reassignment to a vacant position, adjusting or modifying policies [including leave

14   policies], and other similar accommodations for individuals with disabilities.

15      33. Defendants LOMA LINDA, and DOES 1-50, and each of them, violated the

16   Americans with Disabilities Act by failing to provide a reasonable accommodation for

17   DURAN’S disability and/or perceived disability. In fact, Defendants LOMA LINDA, and

18   DOES 1-50, and each of them, refused to accommodate DURAN’S disability, including a leave
19   for medical treatment, and denying her a job when she was able to return to work. Instead

20   LOMA LINDA responded by stating that Plaintiff DURAN’s position had been replaced so she

21   had 30 days to find another position within one of the Defendant LOMA LINDA’s entities and

22   if she did not secure another position, she would be terminated. Plaintiff DURAN applied for

23   various positions at Defendant LOMA LINDA’s entities and did not get accepted for any,

24   because, on information and belief, she was not given priority for any positions offered in

25   violation of the law.

26      34. As a result of the unlawful conduct of the Defendants, and each of them, Plaintiff has
27   suffered, and continues to suffer, general and special damages.

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                                           COMPLAINT - 8
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 1        35. As a direct result of the wrongful conduct by Defendants, and each of them, as alleged

 2    herein, Plaintiff has incurred and continues to incur attorney’s fees and costs to maintain this

 3    action and is, therefore, entitled to recover reasonable attorney’s fees and costs of suit, pursuant

 4    to 42 U.S.C.S. §§12117, 2000e-5(k), 12205.

 5                                             PRAYER FOR RELIEF

 6            WHEREFORE, Plaintiffs, and each of them, pray for judgment against Defendant and

 7   Does 1-50, and each of them, as follows:

 8   As to All Causes of Action:

 9       1.    For general and special damages arising out of the violation of ADA, which amount

10   necessarily includes lost wages, lost benefits, and emotional distress in such amount to be subject

11   to proof at the time of trial;

12       2.    For prejudgment interest at the legal rate;

13       3.    Attorney’s fees;

14       4.    For costs of suit herein; and

15       5.    For such other and further relief as the court may deem proper.

16

17
     Dated: August 6, 2019                                   PEDERSEN LAW
18                                                           A PROFESSIONAL CORPORATION
19

20
                                                        By: /s/ Neil Pedersen___________________
21                                                         Neil Pedersen
                                                           Jamie Gottschalk-Hall
22                                                         Attorneys for Plaintiff JUANA DURAN
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24

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                                                COMPLAINT - 9
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 1

 2                                    DEMAND FOR JURY TRIAL

 3          Plaintiff, JUANA DURAN hereby respectfully demands a trial by jury for all so triable

 4   issues in the above–titled action.

 5

 6
     Dated: August 6, 2019                            PEDERSEN LAW
 7                                                    A PROFESSIONAL CORPORATION
 8

 9
                                                  By: /s/ Neil Pedersen___________________
10                                                    Neil Pedersen
                                                      Jamie Gottschalk-Hall
11                                                    Attorneys for Plaintiff JUANA DURAN
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                                          COMPLAINT - 10
